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                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

    IN RE:                                           §
                                                     §            CASE NO 21-30071
    THE GATEWAY VENTURES, LLC,                       §
                                                     §
                                                     §
             Debtor.                                 §
                                                     §

         GLOBAL RESPONSE AND OBJECTION OF REORGANIZED DEBTOR
         TO MATTERS SET FOR HEARING ON MAY 30, 2023 (RE: DOCKET
         NOS. 454, 455, 456, 457, 460, 472)

  TO THE HONORABLE H. CHRISTOPHER MOTT, U.S. BANKRUPTCY JUDGE:

         The Gateway Ventures LLC, reorganized debtor (“TGV”) files this global response and

  objection to the matters set for hearing on May 30, 2023 and in support thereof would show the

  Court the following.

         1.       The method and/or manner of any sales process in this Court has been under the

  control of Legalist for at the last eight (8) months.

         2.       The most recent sale process demonstrates the disconnect of Legalist with the

  reality of the property. The biggest or worst example of this was the requirement for a $1 million

  down payment before any bid would be considered.

         3.       TGV has done nothing to thwart the sale process(es) sought by Legalist, and TGV

  has only exercised its rights and remedies permitted under applicable law, which had nothing to

  do with the instant sale process of Legalist.

         4.       TGV kept Legalist routinely informed of the efforts of TGV to obtain financing to

  resolve the Legalist indebtedness. The number of proposals referenced in the pleadings of Legalist




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  is a misnomer and instead demonstrates the options sought by TGV and various scenarios under

  discussion, which TGV provided as regular updates to Legalist.

             5.       A closing scheduled in December, 2022 was thwarted by a CBRE appraisal that

  applied a method of valuation to the property never before used.

             6.       The commitment that TGV provided in March, 2023 to Legalist expired due to

  inaction by Legalist.

             7.       Legalist for its part has denied any resolution of the indebtedness by insisting on

  unrealistic and impossible demonstrations of a willingness of a lender to close a transaction.

  Instead of working towards resolving the indebtedness (for example, by opposing a global

  mediation), Legalist provides no business-like communications and a moving target which no

  lender is able to meet while needlessly permitting additional default interest and fees to

  accumulate.

             8.       Legalist stated in open Court on March 14, 2023 that if the sale process did not

  result in any bids, and/or if an entity related to Michael Dixson wished to bid, then Legalist would

  accept that offer.

             9.       TGV is aware that Michael Dixson and/or 6767 Gateway LLC (“6767”) submitted

  a bid of $12 million prior to the bid deadline.

             10.      Undoubtedly, a $12 million offer is by far the highest and best offer with respect to

  the property.1

             11.      In connection with that bid, Legalist through Mr. Chris Wren contacted the lender

  of TGV and/or 6767 to verify the intentions and availability of the lender to fund the transaction,

  which intentions and availability the lender confirmed to Mr. Wren.



  1
      Mr. Dixson provided an additional component to this offer to Legalist on May 26, 2023.

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          12.     Accordingly, the offer of TGV and/or 6767 should be declared to be the

  winning bid under the TGV sale process, and the Court should set a deadline of thirty (30)

  days for the Legalist and the bidder to close the transaction.

          WHEREFORE, the Reorganized Debtor respectively request that the Court to declare that

  the offer submitted by TGV and/or 6767 Gateway LLC is the successful bidder and order Legalist

  to close on the $12 million offer. Reorganized Debtor especially requests such other and further

  relief to which it is entitled at law or in equity.


   Dated: May 30, 2023                          Respectfully submitted:

                                                WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                By: /s/ Jeff Carruth
                                                   JEFF CARRUTH (TX SBN:. 24001846)
                                                   3030 Matlock Rd., Suite 201
                                                   Arlington, Texas 76105
                                                   Telephone: (713) 341-1158
                                                   E-mail: jcarruth@wkpz.com

                                                ATTORNEYS FOR
                                                THE GATEWAY VENTURES, LLC
                                                REORGANIZED DEBTOR

                                  CERTIFICATE OF SERVICE
  The undersigned hereby certifies that a true and correct copy of the foregoing was served on May
  30, 2023 by electronic notice only to all ECF users who have appeared in each case to date, as set
  forth below and whose mailing addresses appear in the attached address list (i.e. mailing matrix)
  obtained from the Court’s PACER facility as attached below.

                                                            /s/ Jeff Carruth
                                                            JEFF CARRUTH




                                           ECF SERVICE LIST

  21-30071-hcm Notice will be electronically mailed to:

  Jeff Carruth on behalf of Cross Claimant PDG Prestige, Inc.
  jcarruth@wkpz.com, jcarruth@aol.com;ATTY_CARRUTH@trustesolutions.com


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                                       REGULAR MAIL




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